PROB 12C
(7/93)

                                    United States District Court
                                               for the
                                      Western District of Virginia
                   Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Frank Wesley Wade                                      Case Number: 5:13CR00016-001
 Name of Sentencing Judicial Officer: The Honorable Michael F. Urbanski
 Date of Original Sentence: August 26, 2014; June 11, 2020
 Original Offense:     Conspiracy to Possess with the Intent to Distribute 50 Grams or More of
                       Methamphetamine; Supervised Release Revocation
 Original Sentence: 68 months followed by 5 years supervised release; 8 months custody followed by 2
 years supervised release
 Type of Supervision: Supervised Release             Date Supervision Commenced: November 9, 2020
 Asst. U.S. Attorney: Jeb Terrian                    Defense Attorney: A. Gene Hart Jr.




                                     PETITIONING THE COURT
[]         To issue a warrant
[X]        To issue a summons

The probation office believes that the offender has violated the following condition(s) of supervision:

 Violation Number Nature of Noncompliance

            1          Mandatory Condition: “The defendant shall not unlawfully possess a controlled
                       substance. The defendant shall refrain from any use of a controlled substance.”

                       On February 21, 2022, United States Probation Officer Dennis Gardner spoke to
                       the defendant via telephone, who reported he smoked methamphetamine on
                       February 19, 2021. The defendant has four or more positive drug screens or
                       admissions to illegal drug use in a one-year period.
 Name of Offender: Frank Wesley Wade                                Case Number: 5:13CR00016-001

U.S. Probation Officer Recommendation:

      The term of supervision should be:

             [X]    Revoked
             []     Extended for year(s), for a total term of years.

                               I declare under penalty of perjury that the foregoing is true and correct.

                                                Executed on            February 24, 2022____________



                                                                 Angela D. George
                                                            Senior U.S. Probation Officer



THE COURT ORDERS

[ ] No Action
[ ] The Issuance of a Warrant (Petition, violation report, and warrant shall be SEALED until
execution of warrant.)
[ X] The Issuance of a Summons
[ ] Other
                                                               ________________________________
                                                                 Signature of Judicial Officer
                                                                March 1, 2022
                                                               ________________________________
                                                                       Date
